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 This document has been electronically entered in the records of the United
 States Bankruptcy Court for the Southern District of Ohio.


 IT IS SO ORDERED.



 Dated: March 23, 2018



 ________________________________________________________________




                                      UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF OHIO
                                              EASTERN DIVISION

 In re:                                                        :             Case No. 12-52662
                                                               :
          Lori Givens,                                         :             Chapter 13
                                                               :             Judge Caldwell
                                                               :
                                                               :   Pretrial Conf.: June 6, 2018, at 3 p.m.
                    Debtor.                                    :   Trial Date: August 28, 2018, at 10 a.m.


                   TRIAL SCHEDULING ORDER REGARDING DAMAGES FOR THE
                COURT’S FINDING OF CONTEMPT AND SANCTIONS AGAINST FEDERAL
               NATIONAL MORTGAGE ASSOCIATION AND SETERUS, INC. (DOC. NO. 165)


      On January 17, 2018, the Court entered a Memorandum Opinion and Order granting Debtor’s Motion for
 Contempt and Sanctions against Creditors Federal National Mortgage Association and Seterus, Inc.         Additionally,
 the Court instructed Debtor to file a statement of itemized damages, which she did on February 16, 2018.    Creditors
 filed responses to Debtor’s statement on March 15 and 16, 2018.          Upon review of these pleadings, the Court
 establishes the follow schedule:
                                                         1.    Discovery

      On or before May 31, 2018, the Parties shall complete all discovery and file any discovery-related motions.


                                                        2.    Stipulations

      Parties shall file all stipulations on or before June 29, 2018.
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                                                       3.    Witness Lists

     On or before July 31, 2018, the Parties shall file witness lists containing the identity and address of each person
 whom a party may call or have available for testimony at trial, including separately designated expert witnesses. See
 LBR Form 7016-1 Attachment A–Witness List. The Court may preclude testimony from witnesses not timely
 identified.
                                               4.    Exhibits and Exhibits Lists
     Parties shall exchange (not file with the Court), all proposed exhibits on or before July 31, 2018. By this same
 deadline, parties shall file joint or separate exhibits lists (without exhibits attached). See LBR Form 7016-1
 Attachment B–Exhibit List. The Court may exclude exhibits from admission for failure to follow these procedures.


                    A. Each Party shall pre-mark all exhibits. The Court will not provide exhibit stickers and, absent
                       unusual circumstances, the Courtroom Deputy will not mark exhibits at trial.
                    B. Parties shall mark exhibits as follows:
                         Numbers-Debtor
                         Letters-Creditors
                    C. At trial, counsel shall provide an original hard copy of each exhibit that the Court will retain as
                       part of the record. Presentation of all exhibits during trial shall be by means of the Court’s
                       electronic display system. If counsel intends to present exhibits electronically from a laptop
                       computer or use of other digital presentation devices, then counsel must provide at least three
                       (3) days advance notice to the Courtroom Deputy to ensure security clearance and technical
                       compatibility.
                                         5.    Pretrial Conference and Trial Dates
     The Court will conduct a pretrial conference on June 6, 2018, at 3 p.m., 5th Floor, United States Bankruptcy
 Court, 170 N. High Street, Columbus, Ohio 43215. Parties shall be prepared to discuss efforts to resolve the dispute,
 along with other trial-related matters.
     The trial to determine the damages in this contested matter shall commence on August 28, 2018 at 10 a.m.,
 before Charles M. Caldwell, United States Bankruptcy Judge, in Courtroom B, United States Bankruptcy Court, 170
 N. High Street, Columbus, Ohio 43215.
                                              6.    Settlements and Withdrawals
     If the contested matter is settled or dismissed, no one need appear at the scheduled trial if Parties send an e-mail
 message to the Court at caldwell287.ohsb.uscourts.gov by Noon the prior day. Parties bear notification responsibility.
                                                       7.   Continuances
     Parties may only request a continuance by written motion filed and served at least seven (7) days prior to the
 scheduled trial date, absent extraordinary circumstances.
                                                            8.       Other
      Parties may not modify the terms of this Order by agreement. The Court requires a written and timely motion.


      IT IS SO ORDERED
 Copies to:

 Default List
 Michelle Rahwan, Courtroom Deputy

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